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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER MDL NO. 1873

FORMALDEHYDE

PRODUCT LIABILITY LITIGATION SECTION “N-5”
JUDGE ENGELHARDT

MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO ALL CASES

DECLARATION OF DANIEL J. BALHOFF
COMES NOW Daniel J. Balhoff, being of sound mind and lawful age, and subject to the
penalties for perjury deposes and states as follows:

1. My name is Daniel J. Balhoff. I am one of two Court-Appointed Mediators in the above-
captioned case. I have personal knowledge of the matters declared herein.

2. I and my partner, John Perry, Jr., were appointed by the Court to assist the parties in
exploring the potential for a global settlement among the defendants who installed,
maintained, or refurbished the travel trailers (the "Defendants") at issue in this case and
the plaintiffs who have sued those Defendants (the "Plaintiffs"). John Perry and I were
involved in all stages of the settlement negotiations. John Perry met privately and jointly,
with counsel for the plaintiffs and the defendants in New Orleans, Louisiana. There were
multiple meetings with counsel and client representatives present. There were also a
number of conference calls with mediation participants (Plaintiffs and Defendants) for
the purpose of discussing various aspects of settlement. The parties reached settlements

with each of the Defendants during the spring of 2012. Settlement negotiations were
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conducted at arms-length. Counsel for both sides vigorously represented their clients’

interests during the negotiations.

Based on my review of the facts, evidence and history, the settlement reached between

Plaintiffs and Defendants is fair, adequate and reasonable, particularly in light of the

following:

a.

Dated: 5, a a/; [ A

The Court denied Plaintiffs' motion for a litigated class action on December 29,
2008, citing, amongst other reasons, the variations in state laws in issue, the
various possible causes of Plaintiffs’ injuries, and the different manufacturers and
products involved in this case. This ruling required each Plaintiff's case to be
determined individually, thus increasing the complexity, expense and likely
duration of the litigation. This litigated class certification denial weighs heavily in
favor of the negotiated settlement, as these cases involve complex scientific proof,
which is expensive for both sides and involves substantial time and resources.
The Plaintiffs are faced with significant burden of proof issues with respect to
causation. For example, for each Plaintiffs’ case the Plaintiff must fund individual
destructive testing of the manufactured home to prove the sources and levels of
formaldehyde. For many Plaintiffs, the manufactured home no longer exists or
can no longer be located. Further, many individual Plaintiffs faced causation
problems due to the fact that they were smokers or had independent bases
separate from formaldehyde exposure for their health issues.

The Parties have already tried three bellwether trials, all of which have resulted in

defense verdicts. {f vv ‘4 Afi
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Daniel J. BalKoff
